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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                         CRIMINAL ACTION

VERSUS                                                                   No. 14-CR-168
                                                                           No. 17-3438

ANDRE ADDISON                                                               SECTION I


                              ORDER AND REASONS

      Before the Court is Andre Addison’s 28 U.S.C. § 2255 petition.             For the

following reasons, the petition is dismissed with prejudice.

                                            I.

      Section 2255(a) provides a prisoner in custody with four grounds upon which

relief may be granted: (1) “that the sentence was imposed in violation of the

Constitution or laws of the United States;” (2) “that the court was without jurisdiction

to impose such sentence;” (3) “that the sentence was in excess of the maximum

authorized by law;” or (4) that the sentence “is otherwise subject to collateral attack.”

28 U.S.C. § 2255(a); see Hill v. United States, 368 U.S. 424, 426-27 (1962). Section

2255 is designed to remedy constitutional errors and other injuries that could not be

brought on direct appeal and would result in injustice if left unaddressed. See United

States v. Williamson, 183 F.3d 458, 462 (5th Cir. 1999). “[A] proceeding under Section

2255 is an independent and collateral inquiry into the validity of the conviction . . . .”

United States v. Hayman, 342 U.S. 205, 222-23 (1952). The inquiry does not extend

to the misapplication of sentencing guidelines. See Williamson, 183 F.3d at 462.
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      “The § 2255 remedy is broad and flexible, and entrusts to the courts the power

to fashion an appropriate remedy.” United States v. Garcia, 956 F.2d 41, 45 (4th Cir.

1992) (citing Andrews v. United States, 373 U.S. 334, 339 (1963)). Pursuant to § 2255,

the Court must grant a defendant a hearing to determine the issues and make

findings of fact and conclusions of law unless “the motion, files, and records of the

case conclusively show that the prisoner is entitled to no relief.” United States v.

Bartholomew, 974 F.2d 39, 41 (5th Cir. 1992).

      “The Supreme Court has emphasized repeatedly that a collateral challenge

may not do service for an appeal.” United States v. Shaid, 937 F.2d 228, 231 (5th Cir.

1991) (internal quotation marks omitted). “[T]he general rule [is] that claims not

raised on direct appeal may not be raised on collateral review unless the petitioner

shows cause and prejudice” or actual innocence. Massaro v. United States, 538 U.S.

500, 504 (2003); Bousley v. United States, 523 U.S. 614, 622 (1998). The Supreme

Court has held that “failure to raise an ineffective-assistance-of-counsel claim on

direct appeal does not bar the claim from being brought” in a § 2255 proceeding.

Massaro, 538 U.S. at 509; see also United States v. Johnson, 124 F. App’x 914, 915

(5th Cir. 2005).

                                          II.

      The United States Supreme Court set forth the standard for judging the

performance of counsel in Strickland v. Washington, 466 U.S. 668 (1984).              In

Strickland, the Court articulated a two-part test that requires the petitioner to prove

(1) deficient performance and (2) resulting prejudice. Id. at 687.



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       Deficient   performance      is   established    by   “show[ing]     that   counsel’s

representation fell below an objective standard of reasonableness.” Id. at 688. In

applying this standard, a “court must indulge a ‘strong presumption’ that counsel’s

conduct falls within the wide range of reasonable professional assistance because it

is all too easy to conclude that a particular act or omission of counsel was

unreasonable in the harsh light of hindsight.” Bell v. Cone, 535 U.S. 685, 702 (2002)

(quoting Strickland, 466 U.S. at 689).

       The second prong of the Strickland test looks to the prejudice caused by

counsel’s allegedly deficient performance. This requires “a reasonable probability

that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different.” Strickland, 466 U.S. at 694. In the context of alleged trial errors,

the petitioner must show that his “counsel’s errors were so serious as to deprive the

defendant of a fair trial, a trial whose result is reliable.” Id. at 687.

       The petitioner must satisfy both prongs of the Strickland test to be successful

on an ineffective assistance claim. See id. at 697. A court is not required to address

these prongs in any particular order. Id. If it is possible to dispose of an ineffective

assistance of counsel claim without addressing both prongs, “that course should be

followed.” Id.

                                            III.

       Addison pleaded guilty, with the benefit of a plea agreement, to one count of

conspiring to distribute and to possess with the intent to distribute 28 grams or more

of cocaine base. 21 U.S.C. §§ 841, 846. His plea agreement included a waiver of his



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rights to bring an appeal of, or collateral challenge to, his sentence in most instances.

See R. Doc. No. 482, at 2-3. The Court extensively discussed the implications of the

waiver with Addison at the rearraignment. See R. Doc. No. 826, at 40-45. In so doing,

the Court specifically reminded Addison that he was waiving the ability to raise a

challenge to this Court’s determination of the guidelines:

      THE COURT: Do each of you understand you are waiving, giving up your right
      to challenge any U.S. Sentencing Guideline determinations and their
      applications by any Judge to your sentence and judgment? Do each of you
      understand that?
      DEFENDANT ADDISON: Yes, sir.

R. Doc. No. 826, at 43. The Court likewise made clear that Addison was waiving the

ability to bring a collateral challenge:

      THE COURT: Do each of you understand that you are waiving, giving up your
      right to collaterally challenge your sentence including but not limited to any
      rights which arise under the U.S. Code, Federal Rules of Civil Procedure,
      Federal Rules of Evidence and any other collateral challenges to your sentence
      of any kind? Do you understand that?
      DEFENDANT ADDISON: Yes, sir.

R. Doc. No. 826, at 43

      Notwithstanding his seemingly knowing and voluntary waiver, Addison now

argues that he should be allowed to bring a collateral challenge. 1 Addison raises two




1  Addison’s motion was filed roughly two weeks after the one year statute of
limitations expired. Addison claims that he should be entitled to equitable tolling
because of multi-month transfers between various prison facilities that left him
without access to his legal materials—including an unexpected one immediately
before the filing deadline that left him without his property until after the deadline
passed. The government, without necessarily challenging the veracity of Addison’s
account, suggests that Addison has not proffered a sufficient justification for a late
filing. Because the limitation period at issue is not jurisdictional, and because
resolving the merits of the equitable tolling issue appears to be substantially more
complicated than simply resolving the merits of the motion, the Court takes the

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collateral challenges. As to ground one, Addison suggests that his trial counsel was

ineffective for failing to argue against a firearms enhancement. As to ground two,

Addison suggests that counsel was ineffective for failing to advise Addison as to a

possible appeal of the sentencing enhancement. 2       Even if the Court looks beyond

Addison’s waiver of most collateral challenges, neither argument succeeds.

                                           A.

      First, the Court considers Addison’s argument that counsel was ineffective for

failing to challenge the firearms enhancement. Having reviewed the sentencing

transcript and the objections to the presentence report, the Court struggles to

understand what exactly Addison’s objection to counsel’s performance is. Addison’s

counsel filed timely written objections to the enhancement, see R. Doc. No. 651, at 40-

41, and argued the issue extensively at the sentencing hearing (including the calling

of witnesses on the point), see R. Doc. No. 827, at 51-54 (counsel arguing firearms

enhancement in light of testimony and evidence).         Moreover, the record makes



efficient route to resolving this dispute and assumes without deciding that Addison
is entitled to equitable tolling.
2 In his motion, petitioner states that he was not “informed by counsel as to this

appeal,” R. Doc. No. 821, at 4, and that he was “not made aware of this appeal,” R.
Doc. No. 821, at 5. Nonetheless, in asserting his second ground of error in the motion,
Addison frames the error as one relating to an inappropriate enhancement, and not
necessarily one of ineffective assistance of counsel. See R. Doc. No. 821, at 5. As such,
Addison’s second ground is ambiguous as to whether he is challenging the sentencing
enhancement itself or counsel’s supposed ineffectiveness in failing to advise Addison
as to a possible appeal of the sentencing enhancement. See R. Doc. No. 821, at 5.
Because pro se briefs are liberally construed, the Court will treat Addison’s challenge
as a Sixth Amendment ineffectiveness challenge because otherwise the challenge—
beyond being meritless and waived—is not cognizable on a 28 U.S.C. § 2255 motion.
See, e.g., Williamson, 183 F.3d at 462 (Section 2255 motions not for collateral
challenges based on (mis)applications of the sentencing guidelines).

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absolutely clear that the Court was aware of the precise argument that Addison now

seeks to raise again—the supposed lack of evidence that Addison possessed a firearm,

R. Doc. No. 827, at 12 (“Mr. Addison[] [has] objected that he was not charged in the

firearms conspiracy, that the record is devoid of evidence, that he personally

possessed the firearm and devoid of evidence, which would make it reasonably

foreseeable to Addison that guns would be possessed by codefendants in furtherance

of his part of the conspiracy . . . .”). So the Court does not understand what exactly

Addison thinks that counsel should have done differently.

      Given that counsel in fact competently raised the points that Addison now

argues counsel should have raised, counsel’s performance was objectively reasonable

under Strickland. Accordingly, the Court rejects Addison’s argument that counsel

was constitutionally ineffective at the sentencing hearing. Addison received the

sentencing enhancement because of his criminal conduct, see R. Doc. No. 827, at 55-

56 (court’s opinion justifying the enhancement); R. Doc. No. 827, at 38-39 (testimony

regarding possession of guns by members of the conspiracy), not because of any

ineffectiveness by his counsel.

                                          B.

      Next, the Court turns to Addison’s argument that counsel was ineffective for

not advising him as to a potential appeal of the firearm sentencing enhancement.

“[A] defendant who explicitly tells his attorney not to file an appeal plainly cannot

later complain that, by following his instructions, his counsel performed deficiently.”




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Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000) (citing Jones v. Barnes, 463 U.S. 745,

751 (1983)).

      At the sentencing hearing, Addison indicated that he was aware of his right to

appeal:

      [The Court:] You have the right to appeal your conviction, as well as your
      sentence. If you cannot afford the costs of an appeal, those costs will be paid by
      the United States. That includes the filing fee, the cost of the transcript, and
      an attorney to represent you on appeal. Do you understand your right to an
      appeal?
      THE DEFENDANT: Yes, sir.

R. Doc. No. 827, at 76.

      With knowledge of that right, Addison indicated that he did not want to file a

notice of appeal:

      THE COURT: Do you wish Mr. Strasser to file a notice of appeal on your
      behalf?
      THE DEFENDANT: No, sir.

R. Doc. No. 827, at 76. Given Addison’s indication that he did not want to appeal,

Addison cannot now complain that counsel should have filed an appeal when Addison

said that he did not want to pursue an appeal. 3

                                         IV.

       Accordingly,

      IT IS ORDERED that the petition is DISMISSED WITH PREJUDICE.




3 Further, Addison “has not even alleged that he requested an appeal after entering

his guilty plea, and he has not pointed to any evidence that he would have actually
appealed, but for his counsel’s [supposed] failure to consult with him regarding an
appeal.” United States v. Calderon, 665 F. App’x 356, 366 (5th Cir. 2016). Therefore,
he “has not shown prejudice under Strickland.” Id.

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  New Orleans, Louisiana, July 11, 2017.



                                    _______________________________________
                                              LANCE M. AFRICK
                                     UNITED STATES DISTRICT JUDGE




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